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                                        October 30, 2020

VIA CM/ECF
The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3556

               Re:    Silvergate Pharmaceuticals, Inc. v. Amneal Pharmaceuticals LLC
                      C.A. No. 19-678-LPS
                      Silvergate Pharmaceuticals, Inc. v. Amneal Pharmaceuticals LLC
                      C.A. No. 20-1255-LPS
                      Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc.
                      C.A. No. 18-1962-LPS
                      Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc.
                      C.A. No. 20-1256-LPS

Dear Chief Judge Stark:

         On behalf of Amneal Pharmaceuticals LLC (“Amneal”), we write to advise the Court of
the filing today of Amneal’s cross-motion to consolidate related to the above-referenced cases.
(D.I. 118, 15, respectively.) Given the potential implications of Amneal’s motion for these
cases, all of which are also subject to motions to consolidate filed by Plaintiff Silvergate
Pharmaceuticals, Inc. (D.I. 115, 10, 142, and 13, respectively) and, for the C.A. No. 20-1256
case, Bionpharma Inc.’s motion to dismiss (D.I. 9), Amneal writes to provide notice of its motion
to all parties and the Court. Copies of Amneal’s motion and supporting brief are attached.

                                                     Respectfully,

                                                     /s/ Anne Shea Gaza

                                                     Anne Shea Gaza (No. 4093)

Attachments: Amneal’s Cross-Motion to Consolidate
             Amneal’s Brief in Support of Cross-Motion to Consolidate
              and in Opposition to Silvergate’s Motion to Consolidate

cc: All Counsel of Record


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